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BOIES SCHILLER FLEXNER LLP                          JOSEPH SAVERI LAW FIRM, LLP
David Boies (pro hac vice)                          Joseph R. Saveri (SBN 130064)
333 Main Street                                     Cadio Zirpoli (SBN 179108)
Armonk, NY 10504                                    Christopher K.L. Young (SBN 318371)
(914) 749-8200                                      Holden Benon (SBN 325847)
dboies@bsfllp.com                                   Aaron Cera (SBN 351163)
                                                    601 California Street, Suite 1505
Maxwell V. Pritt (SBN 253155)                       San Francisco, California 94108
Joshua I. Schiller (SBN 330653)                     (415) 500-6800
Joshua M. Stein (SBN 298856)                        jsaveri@saverilawfirm.com
44 Montgomery Street, 41st Floor                    czirpoli@saverilawfirm.com
San Francisco, CA 94104                             cyoung@saverilawfirm.com
(415) 293-6800                                      hbenon@saverilawfirm.com
mpritt@bsfllp.com                                   acera@saverilawfirm.com
jischiller@bsfllp.com
jstein@bsfllp.com
                                                    Matthew Butterick (SBN 250953)
                                                    1920 Hillhurst Avenue, #406
Jesse Panuccio (pro hac vice)
                                                    Los Angeles, CA 90027
1401 New York Ave, NW
                                                    (323) 968-2632
Washington, DC 20005
                                                    mb@buttericklaw.com
(202) 237-2727
jpanuccio@bsfllp.com
                                                    CAFFERTY CLOBES MERIWETHER &
David L. Simons (pro hac vice forthcoming)          SPRENGEL LLP
55 Hudson Yards, 20th Floor                         Bryan L. Clobes (pro hac vice)
New York, NY 10001                                  135 S. LaSalle Street, Suite 3210
(914) 749-8200                                      Chicago, IL 60603
dsimons@bsfllp.com                                  (312)-782-4880
                                                    bclobes@caffertyclobes.com

Counsel for Individual and Representative Plaintiffs
and the Proposed Class. (additional counsel included below)


                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
                                SAN FRANCISCO VISION

RICHARD KADREY, et al.,                             Case No. 3:23-cv-03417-VC

        Individual and Representative Plaintiffs,
                                                    PLAINTIFFS’ ADMINISTRATIVE
   v.                                               MOTION TO CONSIDER WHETHER
                                                    ANOTHER PARTY’S MATERIAL
META PLATFORMS, INC.,                               SHOULD BE SEALED

                                     Defendant.

                 PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S
                                                             MATERIAL SHOULD BE SEALED
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         Pursuant to Civil Local Rules 7-11, 79-5(f), and this Court’s Standing Order on

Motions to Seal, Plaintiffs respectfully submit this Administrative Motion to Consider Whether

Another Party’s Material Should Be Sealed, filed in connection with Plaintiffs’ Reply to Defendant

Meta Platforms, Inc.’s Opposition to Motion to Amend Case Management Schedule (the “Reply”).

The Declaration of Jonathan Krein in Support of the Reply to Plaintiffs’ Motion to Amend Case

Management Schedule (the “Krein Declaration”), and Exhibit A of Holden Benon’s Declaration

in Support of the Reply to Plaintiffs’ Motion to Amend Case Management Schedule (the “Benon

Declaration”) contain, in various places, summaries or descriptions of material that Defendant

Meta Platforms, Inc., designated as “Confidential” or “Attorneys Eyes Only,” as defined in the in

the parties’ Stipulated Protective Order for Litigation Involving Patents, Highly Sensitive

Confidential Information and/or Trade Secrets (ECF No. 90, the “Protective Order”). Pritt Sealing

Decl. ¶ 3.

         On Friday, October 4, 2024, at 6:14 AM, Margaux Poueymirou of the Joseph Saveri Law

Firm LLP, counsel for Plaintiffs, emailed Kathleen Hartnett of Cooley LLP, counsel for Defendant

Meta Platforms, Inc., along with Defendant’s other counsel of record, for permission to file

publicly the information Defendant designated “Confidential” or “Attorneys Eyes Only.” Pritt

Sealing Decl. ¶ 4. Ex. A. Ms. Hartnett responded at 8:47 AM, stating, among other things, “[Y]es,

Meta’s highly confidential source code and discussion of that source code should be filed under

seal.”

         The Protective Order in this case applies to “any information copied or extracted from

Protected Material” and “summaries” of Protected Material, and prohibits Plaintiff from filing any

material designated under the Protective Order without written permission from Defendant. ECF

No. 90 at 3-4, 21. Accordingly, Plaintiffs filed a public version of the Krein Declaration and

Exhibit A of the Benon Declaration to the docket via ECF redacting references to such extracted
                  PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S
                                                              MATERIAL SHOULD BE SEALED
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information or summaries and will submit unredacted, highlighted versions separately to the Court

and to Defendant.

Dated: October 4, 2024                        Respectfully submitted,
                                              BOIES SCHILLER FLEXNER LLP

                                              /s/ Maxwell V.Pritt

 JOSEPH SAVERI LAW FIRM, LLP                        David Boies (pro hac vice)
 Joseph R. Saveri (SBN 130064)                      333 Main Street
 Cadio Zirpoli (SBN 179108)                         Armonk, NY 10504
 Christopher K.L. Young (SBN 318371)                (914) 749-8200
 Holden Benon (SBN 325847)                          dboies@bsfllp.com
 Aaron Cera (SBN 351163)
 601 California Street, Suite 1505                  Maxwell V. Pritt (SBN 253155)
 San Francisco, California 94108                    Joshua I. Schiller (SBN 330653)
 (415) 500-6800                                     Joshua M. Stein (SBN 298856)
 jsaveri@saverilawfirm.com                          44 Montgomery Street, 41st Floor
 czirpoli@saverilawfirm.com                         San Francisco, CA 94104
 cyoung@saverilawfirm.com                           (415) 293-6800
 hbenon@saverilawfirm.com                           mpritt@bsfllp.com
 acera@saverilawfirm.com                            jischiller@bsfllp.com
                                                    jstein@bsfllp.com
 Matthew Butterick (SBN 250953)
 1920 Hillhurst Avenue, #406                        Jesse Panuccio (pro hac vice)
 Los Angeles, CA 90027                              1401 New York Ave, NW
 (323) 968-2632                                     Washington, DC 20005
 mb@buttericklaw.com                                (202) 237-2727
                                                    jpanuccio@bsfllp.com
 CAFFERTY CLOBES MERIWETHER &
 SPRENGEL LLP
                                                    David L. Simons (pro hac vice
 Bryan L. Clobes (pro hac vice)
                                                    forthcoming)
 135 S. LaSalle Street, Suite 3210
                                                    55 Hudson Yards, 20th Floor
 Chicago, IL 60603
                                                    New York, NY 10001
 (312)-782-4880
                                                    (914) 749-8200
 bclobes@caffertyclobes.com
                                                    dsimons@bsfllp.com
 DICELLO LEVITT
 Amy Keller (pro hac vice)
 (312) 214-7900
 akeller@dicellolevitt.com
 10 North Dearborn Street, Sixth Floor
 Chicago, Illinois 60602


       Counsel for Individual and Representative Plaintiffs and the Proposed Class
                PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S
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